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            Exhibit 1
  Page                                                 of
                                                                          6             Pages
      OFFENSE. CLASSIFICATION
                                                                                                                                  1:23-cv-01184-CRL-JEH # 318-18                                                                 Filed: 04/22/24
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                                                                                                                                                                                                                                                                           INCIDl::NT COOE CHANGE:                                                  REL. CASF; N:0:S
                                                                                                                                                                                                                                                                                                                                                                                  77-01 88
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                                                                                                       NAME .C.ND/Q'A ALIAS                                                                            AODRE:Ss (NO-, c,n·. STATE, ZIP~




                                                                                                                                                                                                       i·      ·.' ; : r:i "l                              '_1;        T         · ;·i: , .              _--.1 ·
                                                                                                                                   Noya1 L.                                                           3033 W. Garden
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                                                                                                                                        M rtle M.                                                     1321 w. Seventh                                                                                      674-1730




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                        To    .....        _,    I          '._...,...,   111 .·<)      f,...i:i. L~   !:.i,.             ;_ ... l•~-   --·-:-   \~ •.!'()           "'.I·..
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          CONTINUAlilON·:r,. 0 :,:~ ~-~_AR_,1:.TjlVE;c,-'~ ·.·:;.· ... : !: .·.:
           SH_E~J Q!'J.LY,,j ,. : : ·.:•~ :: ;_ ,c -1.:,_; ••• ,•·· ~1~7} ~
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                                                                                                                                                                                                                                                                                          ...   f ..      '!..,.. ..... ;*        ;~~~jc..:- t;_...,.-~:.-~                       t .• O':.   -i·!.J. ~- :"f .. ~       o-:~
                                                        In re ards to this investi ation this officer received a te1e hone ca11 from M rtle
       McDonald •.. ,She>s_!ated:that she;was a.fr.iend.of,'the :,.,lctims 1 .mother,.- ;--She,Jur.ther,,st~te~ ~h~·t·Jshe_,.h,ad,~een tryji:-ig:l,to.ca11i·.•
       the house .tl:iat,mornin .,and hadi lated theHi:rst ca1·1 at.1a roximate1 -10:.45. a.m •. · ,She stated•.t ati· she ke t e tin : a.,
       busy si gna 1· •. McDona 1.d further: ·stated. that J she had-: rece:tved, a •.ca.1 L .from Renetta_--:Wi 1:1.i.ams_.; ,:· She _stated ·_that. Renetta· to 1d.,,.
       her 1 that,_she,·hat:tbeen·.tr in- ·to·r.each-.the.victim 1 s:-homeib tele hone and had laced a -tele hone-calh•at:a roximatel · .. - ·
       0900 hours on this date, 1-18-77, and she had also gotten a busy signal. McDonald stated.that Renetta Williams had
       told her that she was su osed to o to the victim 1 s home at 12 noon on this date 1-18-                                        but stated that she did not
       go. Jh.i·~ · c;>f,f.i cer. :then. asked. Mc Dona 1 d .i.f .she, knew· why:. Renetta •.did. not go. ·to ;t~e -v.i ctim! s: home ·at noon •. 1;Sl)e st_ated ::that , .
       Riirieffin::i,:: had not __told her wh ~~:she did not. o.·1..This officer asked Mc:Donald·i.f she-:knew:of an thin ·-else·ab -t-the" -~.·
       victims: or the .v.ictims} relatives :that would •a.i.d; these:off,icers 1fh thh:-1investigation.:. McDonald sta.teJ:I -tha_t. she_•ha_d: heard
       from a friend named Rose Armstr,on whose address she did not know but ·beli.eved· she .Jived·-somewhere on Mi man S                                       e
       She stated that Rose Armstrong told her that on the date of this incident she had seen a brown and white station wagon
        a ked,in;•the,d ivewa :·of.·the victim~-s-;residence before.H a-.m·.;on the date of thisrincident.                                c na d sta ed·that.-·
       had no fui:-.ther de~criptic;m· 'of ;the· station wagonr or. any :information as to w~o. the~ station wagon .,mJ.gh_ti belong;· to_;. '~- .<
       McDonald stated that she would contact her dau hter and tr and obtain the home address of Rose Armstr,on and 1 alsorher
       telephone number and contact this officer with the information at a later time. At this point the telephone conversation
       with:Mc0onald.'was,.concluded. ·;, .... ,.;" .. •.: .. ·1::;r,_ -·:o·. . ·.c T ... ,,.::: ::•._                    1-· ··· ,··       ~-•-· ~-.·-· :-·•·-,
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~.,L::CA:;:..NL.O~H=rn~o~,.-=:::;:.•....,_~.J_IV.LJKOL!~.,_,;:·~·                 .U.:.l.!..lc!J..J..t..-Sl..l..!.!.l..ls.Ll'l.L~d..L~LL-"-..l....cl,Si.L,;lef...,.JE~--'--~,~~f.titr.M~~~~p~PEJSgL__.,J.....l...!,1lLI~.......l,f_.:.J..l~j,i....lo..LJ.Si..~l,U,cl.15a_,:~.i.:...:.Jtl_,____..n.,,.'-.LWd.......Lliii..L-:...CLL"'-'1.....,LJ.<L::--~
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                        "fr;:;i: . . 1•.,
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          Br m                u\· ~· , .- , ::·                            ,.r         .... ~                       r!    _                      ,~                                                                                                                                                                                                                                                  I   .•
   ()(TRA COPIES TO                                                                                     SICNA,-URl:                                                                                                                                                                                                                                                                                  !=h_E -PA(a: fJO
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                                                                                                                                                                                                                                                                                                                                                                                 UlllnY SHEET



                                                                                                                                                                                                                                                                                                     PEORIA_SAVORY 110
                                                                                                                                                                                                                    "--□~~~:i~~:~:~""''".r
Page
             2          ~-~--.. r.6~,             Pages NARRATIVE:
                                                                       1:23-cv-01184-CRL-JEH # 318-18                                              Filed: 04/22/24            Page 3 of 7
:-ATTACH- PROPERTY-TAG-H-ERE- -I                                                 -- □ LEADS/NCIC lnqui~
1-1------------------L-----------------·-=-· i_-_i_ _ _ _ _:·_r_r_·- - - - - - t -==□ LEADS/NCIC E~'try :                                                ·-=-·
                                                                                                                                                            ·----'-,


                                I                                                   D License Inquiry
   back to the residence at O w. Garden and have her, • h~ the crime scene and-·
                                                                        1           D Inter-Dept. Reques~s                                                                                                                                 1
                                                                                                                                                                                                                                               •



1    anything that would be out of t~e ordinary or any arti~l~~ that_~~~ht be missing.                                                                                                ,                                D Other Comm~nication
                                                                                                                   , i - ..   ,.   ..   •.                                        .. ..   1 '/v ;                      D Cancellation Made
     1-19-77, 180$ hours
                   · · - :-~:<              ~     ~-.:-.. 1 r   ~.:{fl...:·~--                                   .i~H~'-~~··:; •..            r.--:;                          ....... :: ·t :·4 , . -;~:·._ .::::                 .-. .    J

   This officer, along with Off. Fi 1ers, went to 213 Seventh Street where we picked up the mother of the two murder victims
   and a friend of hers. These offiicers alon with the mother and the friend arrived at the resi ence at O W G rde·n
   at approximately 182S hours. THe mother was taken into the kitchen of the residence and the friend was left in the car.
    IITlllediatel u on these officers 11 arrival at the residence we were met b the ste -father William Dou las. This offic
   along with Off. Fiers, intervie~ed the mother in regards to this incident. The mother of the victims stated that the
   red bandana found in the bedroom did belon to her dau hter and that her dau hter usuall wore the bandana aft               sh   a
   rolled her hair. The mother of 1the victims stated that she did not remember any holes at all in the screen door prior
   to the inc;dent. She furthers 1ated that when she and William Dou las -left to o to work that morning the V
1 on the coffee table.         She stated that this TV set was left on the coffee table that night prior to this incident. The
L ..mother_ s.tated -1:hat_sbe.. c.oulcL i:eoiember havin onl one ke to the residence and that morni n when she and Wi 1 · am
   she left the key inside the house because the two victims were still in the house. The mother further stated that the
   onl time the ke is left in the mailbox is when no one is at home so that if one of the kids come home the wou db
   able to find the key and let themselves in. The mother further stated that no one knew about leaving the key in the
   mailbox exce t her two kids and William Dou las. The mother further stated that "ihe~-ara e door is sual             o        b
   sometimes her son, James, comes home and forgets to lock the door.
              - r~·,·::, ...... -1\ ; ~ . . . :     ---~~_:>(k..~""f:..:" . - .. \~r. :J!.)~-1 "r:··:: j· i~.£: "?.i-11:~- I• ,f:·-          r~~   . -:.;l r :.f1 ..: ,-,:; ~-:·1: .. ~·; nI
     Wi 111i ·am) Dougla·s: was'., pre·s·en t l'dur i ng ,-pa:rt:i• of·1 -thei •interview i of: ·the 1 mother~ :·,.Off~,, F- i:er s-1 'asked Wi:Hi ain~ how -he: :got ,the we 1t ,o .. ~ -,
         0


     that was:not:iced:un·der.. hh·-,left:e e:the-date-of.._-:1:h·is •incident.·,· Dou las:re ·.J:i'ea:b. :statin':,that he wasrn·ot aware of;o .. ~:.:·
     any-welt- under,'. hi s·-eye·.-:. : .:fhe mother- ·theiir interrupted: ·the; conversat:ion ··and·1stat'ed·, ..1.'0o-.you ,remember-. that:1I ·asked: you;·~- •:·-1.1~
     about:what.i.ias·iwron· with· our-lre e1J 1 .·At.;thiis 'time-there was;,no more conversatlon about::the:!wel,fr n· .Wi; i,am                                                                                                        . - 1·1:;,;
     eye.        .· .. z... iili           ............ --,.~~:,. ::.:···:.~- ')f~. . :: . :-            .1    .~· r---~ ·~:-u..:: :, .. ··: ·:..:.~     ..... 5,;:!· :t , :·~ . - f ..... r ,: ~-. :.,,.:. ,·, :!. ..1•:·:, . ........ .
         :>..... r. !:. .. ~~ • .;_ .:: ·-·• :'" ·::~: :~. -,..~ t -~ : -...} ~-~ ,."":.- .~: .. _ i·,;=~ r. •_ \-: . . •,~ ~:; :                                               -·•  !. --.... ..· ·,,..,- ,-... -- ....
                                                                                                                                                                                               i.__ ....
                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                     J , . •...... ' ....

     The•i•mother-: wa·s -then asked :if ,she: tookr:a·• newspaper.:. She·, stated.'·:that. sl:le-'did ;fiot .·take ,a; morning: or-. an·;af;ter.noori1 paper; . c.-.
     These of.f.icers~ then: asked :the+ roother.,about her slee i-n. -habit·s.:; The mother •. stated tliat· .she·.usual.1 slee s .with .he· _-_:h;, rd:'.
     daugther-, because .. she:;:afd: not:.have. any., becir_oom; furni ti:.tre ti i, her.: oectroom •. :~ Thtr mother :fur.thert stated tha:t; :she :did ·not .. : . : ,,_,
     know of.;.:ia·n·on·e:;thait.Conni"e ma ·.hav'e.'haa .an'..a'r ument wi:th '. ,;., :·,.,·, : j·                                                  ·j. ••    : ~:::, • .-, ,;nn:1::· . . -;: .·:."~-. :: ·,; ::1L h;. ':' .. :.. ,


     have a key to·: the-bu:i Hling- 1 bu-t_ statei:1 he·: had; key.s •to :the, cars--arid: t:h~n· hesi,tated ancl stated, VYea;r:l- 1 ve .got a·.key.··to .,, . ;;
     the ·buil·din 11 •.. ...·~1:;':.·!1 .. !..:.:;· -.~ :J.~·,_ : . . . . : ,-,r :·' n· ---;~' ,· .- ·;,:·:.: · :. ·,·_ .... ·:· ... ,.. · i1~•; · _;;:_ :--~~-~ · :· :·-. :.; •.···.·•


     stated that William had bought the beer to the house on Monday night and put it in the freezer. She stated that there
     was;· :wa:ter-1. foTthe·. soda ,.bott l"e .ai,d .. that .the· wer:e-I·normaU .:. ke · t ,i h~ ·the '"to of :the'.· ·refr i er:ator ·.because-:the'. ·bottom -did. not' - :
     work. These officers then asked the mother about the conditions of James' room. She replied by stating that James room
      ook d t R,.ical because it is normall unke•-t~ The-mother:.f.ur.ther.. stated that the ele hant stand located in the livin .
    room of the residence was already broken prior to this i'ncid~nt. At this point this •suPERv,soRAPPR□viNa                                                          r-□ No_
                                                                                                                                                        ..
                                                                                                                                                                                          PEORIA_SAVORY 111
                                              . UTILITY  EXTENSION SHEET/ PEORIA POLICE DEPARTMENT
                                                  1:23-cv-01184-CRL-JEH # 318-18 Filed: 04/22/24 Page 4 of 7                                 77-01588
                                         :2. NAME ANO/Oj.."c Al.lA:'i                  AODHESS, NO. CITVC STA.TE. /IP                         ss. o,t, ~10, nc

                                            WILLIAMS                        Renetta                  s. L dia
                                                                                                                                           REDACTED

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                                                               .r .-- . .1.;:.:. .r
                                            PARKER . F.lo d;·c.,'' .:-, :.
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J. TYPE PROPl:FHY




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4. REPORTING OHtCEA                                         I.D. NO.
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 lnyl!_ 4 -_-_,_ -:":..,}. c_',.:_._··~:-.··,·                                          :_;-_<_·   _,·;_._t··· _. _ ·', :- \~ ---~            -➔                                    1 '
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                                                                                                                                                        Flasti,Message . ,:
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                                                                             1:23-cv-01184-CRL-JEH   #   318-18        Filed:  04/22/24  Page 5
  :·•ATT.ACH- PROPE-RTY--T-.4.G ---H-ERE. _·_,-:-----___...c--------~-------------------:.'.-., - - - - - - - ; · ·:, ·· □•· LEADS/NCI~ l!'qu~·,yof 7
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  ' - - - - - - - - - , - - - - - - - - - - - - ~ - - - - - - - - - - ~ ~ • - ' - < - '~                                                                   •- 1 - r                   '. [· ·-:;·;.·,   :;.-: -:,·,, ::·:       ,: :.   -:                     LEADS/NC IC Entry•:
           •·                                                                     I                                                                                                                                                           - - - 0 License lnqui~y

  : ~nvestigadon:,-the"se o~fii cers separated the two subjects: :an9: th_j sf.ofjfjcer (Cannon).: · . ..                                                                                                  - .·: □ l(,t~r-Dept. Re_quem~,
  : the kitchen with the mother and Off• Fiers took the ex-husband to a back bedroom to                                                                                                                 ..              0 OJher cammunicatio~. >--______,
  '.him. Ibis officer then·a~kedd:be>oiotber if to_he'r knowledge· d_id•-:she_J,;                                                                                       .                         .           ·.,,' D.can~ellationMade :'; I ..
   igot along with her boyfriends. She stated that as far as she knew Connie got along fine with her b~yfriends. This officer
  1 th n ask d ·the mother about Conni~•s bo friend                                                               Charles·!Watt.-,--,Th"e· mother stated that she:·dn:tnot know: about Cha res Wa                                                                                                   ~
  : but that s_he knew he was very possessive. The moth-er then recalled one incident bet'1e~n Charles Watt and her daughter,
  ,Connie. She stated that there had been· a fight quite some months ago. She stat d'that Cha les had hit he dau                                                                                                                                                              a
  1 tnat her daughter had ·cal led her at work on the telephone.                                                                      She stated that she t·a1ked ,to both lier 'daughterfand Char1es
  1 and had gotten the matter settled                                             1
                                                                                  •            She stated she- did not know of any other-Rh sica ff hts· betw en h , ·, u                                                                                                   ·
 ; Charles Watt other than she believed Charles -i;o be extremely jealous. This officer· then asked.-the. mc>ther ~f she,had any.
 1 boyfriends that Connie could have' possibly had problems with.                                                                        She replied by stat'ing tbat s._,_,-'-"'--,._,_h,.,_·,.._·_,·"--'o,.__·_,,b,.__,.0'4-'f_.__._·..,,._,._,_,,,__,,,__,,.__,'-'--""---__..__._'--"'----"~----,---'----1
 ' she had not been out with another man since getting··-her divorce this past August. · Thfs officer· then asked _the mother if
                                                                                  1




 '. she knew of any other information, that could possibly aid these officer_s_in_tb.i •                                                                                     _                                                   a ·· _                                                  ·
  ; imately two months ago two black Cadillacs pulled up in front of her house. The mothe'r: stated ·tha~ she was'in one of
 1_.the- bedr-ooms- located- on. the-east---side of the house and 1ooked out the window and observed severau~-...,,..i......cl..lldJ...,..__."-'--''--'--'------',cLI......_---'-~---,
     two cars. She stated one black male got out of the· car and came _to the door arid a·sked Connie to ·use the t·e1eph,on~·. · She
             a                                                1 o                   back male o              into the house and u~the hone                             h                  h          h
     look at the black male subject as she was in the bedroom and could not see him clearly.· But she further· stated 'ttlat ~fter
f-----'"-........__..___.....,__,,..0....-'-'-""-..1...'iii..---'---"ii.l:..t the residence she_a_n.cLb.eJ:.._d..ayght_er..,_C.9..onie~_q_egao_JJ~.Y.gb_i.ng...b.e..e.a.1.WLth.e..Jtl,,,.__,,,,"'-'-...,....'-"'-.......~-...,_,"'¥1...,,.._..._,__,_....._-'"-""'_--l
     be a sissy. At this point· this officer concluded the interview of the victims• mother.

      While this officer was still at the scene.Off. Siebenthal came by with some· information he had-obtained_frorrithe R & G--
        '-'--'---'--'---------'--'"':.>,,.W.....,......_.......___J""-=.l__l,.__.__~_arr. See hi s_s.uppl ernentary report in regards to tbiLinf.ocma__,,._,._·~----~-~---"-------------
1----------'.......




1----------'_,___,_,~......._...L....L_._.....c.L.f-__.._.J....'-'.~.....l'.lL..l....l..JL.J........JIL.L.L.~rs, went to Renet.ta.:...w.u 1iams 1 house at ]701 Lydia.                   Upon arrival we were met by Renetta·
      Williams and her husband.                                                     Renetta Williams stated the.following: She stated that on the date of this incident she had
1-------'-.._...=...'---'-....._......,_,__,_,._,.._pu:bo..,nue,._t...,hUJe..____.victim Connie.,_wbo~s__her;_b..es_t_f..r..iend._She_state.cL_tb__a_t_shr_i_ed__f_j_r_s...._.......,.__,,,_.DJ-'W_JU.,.,,..__.__...___........_..__,__.u.u..___--l
      tried several times after that. She stated that each time she tried to make telephone contact she g~t a busy signal. This
1------'-..................-'=---__._..........,.,._~n.=U-J......JOUJe     t twa:,_,W,.,_.h-'-.;y~she had been_tr__y_i_ng_to____contact the yj ct im...ton0:i.e---:...Sh.e-"---"'--........,'-'----'OJ__J..1i........____..__....,,,__----'---'----'~LI,._~..LW.L-.........---'-JLI....L....___,--------j
                                                                        ........
      incident she and Conn°ie had been doing some physical exercises. She stated- that she wanted to call_ Connie to let. her .know.
1------J--Jµ.w,~=~,;...i.--1.-d.L.1.-e.,-t~bwee.......,e~xl<Je;::.;r...c.ises and to _t eJJ_her_tha..:t_her:_leg.s_wece_ ,:eaJ_so:r:e.•,-Re                                                                                                         _
      to her friend Connie's house at 12 noon on the date of this· incident but had changed her mind because.of t~e soreness in
f------1---..__..__.~~-f,__..._t..,e~r__....dou..ing the exercis.es_tb..e..J'.ligh.Lpr:.i.or---,---tcLthis....:.iociden.t. ___ Rene.t.ta_s.t.ated that the 1as t time
      the victim Connie was ,on 1-17-77 at 1320-hours. She stated that Connie had come to her home for the purpose of doing
f----"':.,lli,t;~~~-.i.JU-.c::1.~~UCIJU-¥--:::w....l...C--1-UJ..j_l.:or-her_ a □ d- her biAsband. She stated that Cono"i e 1eft he,_u.,,,,........____.___.~.._______.~·-,__,_____.,,__,,_........,"'"'--'""---L.............__,__~~--c-l
      hours of 2130 hours and 2200 hours. She stated that Connie: was picked up                                                                                                      ;~i-
                                                                                                                                                                   her mother_ ·and her step-father.

      This officer then asked Renetta who had been present during Connie 1 s· pres~r.-ce at:her horn~. - RE:_nett~_s_ t_ated -th-at_ she,-•her - , __
~~~U-l,,l-_____..,__,9.,_i1---1r-1l---if--1-r....i--'=e:1--1n.ud• ...and Cbarl es-Wat-Lhad
                                                                                        •
                                                                                           been pres.en.tJ_She stated that·, Char_l.e.s Watt left approx10Jatel y an hour !30d, ·a
                                                                                                                 -         ,  , •            SUPERVISOR APPROVING , .   . •,  1 1.0. NO
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                                                                                                                                                                                        · ·                                                                                                                  1




                      .• .-
    half before Connie was picked up by her mot;her and step-father-.; ... :_.:: .:;
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  OHENSt CLASSH ICA TION
                                     6                                             1:23-cv-01184-CRL-JEH # 318-18                                                      Filed: 04/22/24                    Page 6 of 7                              REL CASE NO."S

                                                                                                                                                                                                     r"ROM               TO

                                                                NAM!; AND/OR ALIAS                                                                                                                                                                                        SS .. 0.L. 1'110 .. ETC.


                                                                                    W.i-11:i am -:,                                                     M.-·- Garden,··_· nr .... _,,,                                                                                           .   -· -   '

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                                                               DOUG LAS_, ::No~.:::a"-":b::'..-.c.--'--'~-'--'-~---'-'--...a.!.__;__!'-'-J..?=--"'--"'-'·e-:W~•-:__:·
                                                                                                        ·                                                          G~a~r..,:dce:,:e"--'n_·--'--'--'----!.·~-'-'-----.:-:..:..;\.-..;..·J,,.....~--'-'---"-'~-J,,;...---'-'---~--=--i...;---'-'----'-'--'---,-+-------1
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SEC, A:       A-Arre-stea        B-8usines..,,, Firm, Agency            C-Compl,ain,rnt            l - Bar ICIHIOT      M-Miu.ing, Runaway             P-Parent, Guardian          S-Suspe-ct         V-Vlctlm          W-WilnE!U          0-QtniJ-r (N.a,rr .)                                       .,-
SEC. B:       K-Dead Be1ore Report               O~No 1ndJcatfon or injury                                                       B-VisiOle I n;ury        C-No Visible- lnJurv, Moment~ry Uncon:5cious, Complain of Pain

SEC. C;       s-Sobcr        D-Been Orlnkiil9               1-lntox,cated/Unde~ lntiuence            o-otner (Descrit:e In N.r1H.)

SEC. D:       M-Male    F-Fema/e           X-Unknown / W-Whi1e
                                           11A.rn IOESC.I
                                                                                                ..
                                                                                             M-Mexican         J-Japanese
                                                                                                                  .             I-Indian. ?-Puerto Rican
                                                                                                                                                           ...         C-Cninese                                                                  OD-Orf Duty Pollce
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 I.ALI                                     CID                                                                                                                         CORON'ER
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                                       I                                                                                                                           I

     CONTINUATION                                           NARRATIVE:
      SHEET ONLY                            □
                                  This officer then asked R netta "f sh
have possibly have had. She stated that she knew of a white male, Ed Shay, whose street address she did not know but knew
that he lied in P kin 11 inois and su gli d th s offi        i   a             mb
this report. She stated that she knew Connie had seen Ed Shay last on Wednesday, 1-12-77. She stated that Connie had
          k i n fo       o of          d·     w· th     a
     was friendship. She stated that as to her knowledge Connie had never had sexual intercourse and that their




like 11 a sister to me".                                      The telephone conversation with Parker was concluded at this time.
     CAN OF"FENOER      I BY WHOM                                 REPORTING 0~1-=ICER WAINT. TYPE!                1.D, NO                                                                                                                         SUf>ERVISOR APPROVING                                     I.D, NO

                        I
     lff I(       □
EXTRA COPtES TO                                                   SIGNA.TUR'E

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                                                                  1-'ag~_s NARRAJIVE:
                                                                                                   1:23-cv-01184-CRL-JEH # 318-18                                                                                        Filed: 04/22/24                                                             Page 7 of 7                                                                D Flash.Message
                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
                                                                                                                                                                                                                                                                                                                                                                                                                                                 !' - - - - I
: ATTACH                           PROPERTY TAG                            HERE                       :                                                                                                                                                                                                                                                            ___ 0 LEADS/NCIC Inquiry                                                      L-..
'                                                                                                     I                                                                                                                                   .. -..... ,-~
                                                                                                                                                                                                                                      ..- ..        r  -
                                                                                                                                                                                                                                                                                                                                                                                0 LEADS/NCIC Entry .;:,-...--------;
I                                                                                                     I                                                                                                                                                                                                                                                                         D License lnQuiry     [, ________
                                                                                                                                                                                                                                                                                                                                                                                                      ,   - - -,
1 This  office.- then auestioned RP.n~tta Wi 11 iams in reaar:ds,·to tne ;man· sel 1 ina t-h"" ....,, .. tr..a:n-·,t. Sh@" --- □ Inter-Dept.Requests • L--
~ stated that she had been with th~ victim, Connie, when the man selling the portraits had made                                _ _ OOthe-rcommunication :_ _....
 , an annointment to see them both on 1-20-77 at 1610 hom:s·.•arid wari"t-#ltf to know if t-hl"., ... n'f:f:h•ar-.... _,, ..·•     □ Cancellation Made
   any police officers would be present when the man selling the portraits arrived. These officers informed Renetta Williams
   that we would be oresent at her ttome at 1630 hours on 1-20-77. At this coint the interview of Renetta Williams was
~ concluded.
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